Dear Auditor McCaskill:
This office is in receipt of your letter of October 31, 2005, submitting a fiscal note and fiscal note summary prepared under §116.175, RSMo, relating to a constitutional amendment about stem cell research. The fiscal note summary that you submitted is as follows:
  The proposed constitutional amendment would have an estimated annual fiscal impact on state and local governments of $0-$68,916.
Pursuant to § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  Jeremiah W. (Jay) Nixon Attorney General